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                              No. 23-60069

        In the United States Court of Appeals
                for the Fifth Circuit
   State of Texas; Texas Commission on Environmental
   Quality; Luminant Generation Company, L.L.C.; Coleto
   Creek Power, L.L.C.; Ennis Power Company, L.L.C.; Hays
    Energy, L.L.C.; Midlothian Energy, L.L.C.; Oak Grove
 Management Company, L.L.C.; Wise County Power Company,
 L.L.C.; Association of Electric Companies of Texas; BCCA
   Appeal Group; Texas Chemical Council; Texas Oil & Gas
 Association; Public Utility Commission of Texas; Railroad
    Commission of Texas; State of Mississippi; Mississippi
  Department of Environmental Quality; Mississippi Power
   Company; State of Louisiana; Louisiana Department of
Environmental Quality; Entergy Louisiana, L.L.C; Louisiana
     Chemical Association; Mid-Continent Oil and Gas
   Association; Louisiana Electric Utility Environmental
      Group, L.L.C.; Texas Lehigh Cement Company, LP,
                               Petitioners,
                                    v.
   United States Environmental Protection Agency;
    Michael S. Regan, Administrator, United States
          Environmental Protection Agency,
                           Respondents.

                 On Petitions for Review of a Final Action
          of the United States Environmental Protection Agency

  OPENING BRIEF FOR TEXAS STATE PETITIONERS



                     (Counsel Listed on Inside Cover)
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             Certificate of Interested Persons
                         No. 23-60069
   State of Texas; Texas Commission on Environmental
   Quality; Luminant Generation Company, L.L.C.; Coleto
   Creek Power, L.L.C.; Ennis Power Company, L.L.C.; Hays
    Energy, L.L.C.; Midlothian Energy, L.L.C.; Oak Grove
 Management Company, L.L.C.; Wise County Power Company,
 L.L.C.; Association of Electric Companies of Texas; BCCA
   Appeal Group; Texas Chemical Council; Texas Oil & Gas
 Association; Public Utility Commission of Texas; Railroad
    Commission of Texas; State of Mississippi; Mississippi
  Department of Environmental Quality; Mississippi Power
   Company; State of Louisiana; Louisiana Department of
Environmental Quality; Entergy Louisiana, L.L.C; Louisiana
     Chemical Association; Mid-Continent Oil and Gas
   Association; Louisiana Electric Utility Environmental
      Group, L.L.C.; Texas Lehigh Cement Company, LP,
                                Petitioners,
                                         v.
     United States Environmental Protection Agency;
      Michael S. Regan, Administrator, United States
            Environmental Protection Agency,
                             Respondents.

    Under the fourth sentence of Fifth Circuit Rule 28.2.1, the Texas State Petition-
ers, as governmental parties, need not furnish a certiﬁcate of interested persons.

                                        /s/ Bill Davis
                                        Bill Davis
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          Statement Regarding Oral Argument
    This case merits oral argument. The State of Texas, Texas Commission on En-
vironmental Quality (“TCEQ”), Public Utility Commission of Texas, and Railroad
Commission of Texas (collectively, the “Texas State Petitioners”) challenge the
ﬁnal action of the United States Environmental Protection Agency (“EPA”) disap-
proving Texas’s state implementation plan (“SIP”) addressing the federal Clean Air
Act’s interstate-transport requirements for the 2015 8-hour ozone national ambient

air quality standards (“NAAQS”). Absent this Court’s May 1, 2023, stay order,
EPA would have been able to enforce its federal implementation plan (“FIP”) for
Texas, which would have wrought havoc on the State’s economy and energy sector.
    Although the stay preserves the status quo, the threat of further EPA action will
persist unless and until the ﬁnal SIP disapproval is set aside. This matter therefore
continues to carry signiﬁcant consequences for the State and its citizens. EPA’s dis-
approval undermines the State’s congressionally assigned role in meeting air-quality
standards. And it is the necessary precursor to a FIP that would impose EPA’s policy
preferences on Texas and its industries. Based on the importance of the issues pre-
sented and the consequences of the case, the Texas State Petitioners submit that oral
argument is warranted and would aid the Court’s decisional process.




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                                  Glossary

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                        Ozone Transport Modeling Data for the 2015 Ozone Na-
                        tional Ambient Air Quality Standard (NAAQS), 82 Fed.
                        Reg. 1,733 (Jan. 6, 2017)
Act                     Clean Air Act, as codiﬁed in 42 U.S.C. ch. 85
APA                     Administrative Procedure Act, as codiﬁed in 5 U.S.C. pt. I
Doc.                    CM/ECF document number in this case, No. 23-60069
EPA                     U.S. Environmental Protection Agency
Final Rule              Air Plan Disapprovals; Interstate Transport of Air Pollution
                        for the 2015 8-Hour Ozone National Ambient Air Quality
                        Standards, 88 Fed. Reg. 9,336 (Feb. 13, 2023) (C.I. HQ-20)
FIP                     Federal Implementation Plan
March 2018         Memorandum from Peter Tsirigotis, Director, EPA Ofﬁce
Transport Guidance of Air Quality Planning and Standards, Information on the
                   Interstate Transport State Implementation Plan Submis-
                   sions for the 2015 Ozone National Ambient Air Quality
                   Standards under Clean Air Act Section 110(a)(2)(D)(i)(I)
                   (Mar. 27, 2018) (C.I. R7-18)
NAAQS                   National Ambient Air Quality Standard(s)
October 2018            Memorandum from Peter Tsirigotis, Director, EPA Ofﬁce
Maintenance             of Air Quality Planning and Standards, Considerations for
Receptor Memo           Identifying Maintenance Receptors for Use in Clean Air
                        Act Section 110(a)(2)(D)(i)(I) Interstate Transport State
                        Implementation Plan Submissions for the 2015 Ozone Na-
                        tional Ambient Air Quality Standards (Oct. 19, 2018) (C.I.
                        R7-11)
Proposed Rule           Air Plan Disapproval; Arkansas, Louisiana, Oklahoma and
                        Texas; Interstate Transport of Air Pollution for the 2015 8-
                        Hour Ozone National Ambient Air Quality Standards, 87
                        Fed. Reg. 9,798 (Feb. 22, 2022) (C.I. R6-1)


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PUC                     Public Utility Commission of Texas
SIP                     State Implementation Plan
TCEQ                    Texas Commission on Environmental Quality
Texas SIP               Texas Commission on Environmental Quality, Federal
                        Clean Air Act Sections 110(a)(1) and (2) Transport State
                        Implementation Plan Revision for the 2015 Ozone National
                        Ambient Air Quality Standards (Aug. 8, 2018) (C.I. R6-6)
Texas State             The State of Texas, Texas Commission on Environmental
Petitioners             Quality, Public Utility Commission of Texas, and Railroad
                        Commission of Texas

                          Record References
    In this brief, “C.I.” refers to the certiﬁed index of record contents that EPA ﬁled
on April 13, 2023. See Fed. R. App. P. 17(b)(1)(B). Documents are identiﬁed by the
EPA ofﬁce listed as the custodian of the documents after the ﬁrst hyphen in the
“Document ID” numbers on the certiﬁed index (either “HQ” for EPA headquar-
ters or “R” for an EPA regional ofﬁce, with a number indicating which regional

ofﬁce), as well as the ﬁnal four digits (minus leading zeros) of the “Document ID”
number. For example, the ﬁrst document listed in the certiﬁed index would be cited
as C.I. HQ-20, and the second document would be cited as C.I. R2-15. In accordance
with Fifth Circuit Rule 30.2(a), the Texas State Petitioners will ﬁle an appendix con-
taining the portions of the record cited in their, the other parties’, and any amici’s
briefs. The appendix will be tabbed according to the citation format just described.




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                     Statement of Jurisdiction
    On February 13, 2023, EPA published in the Federal Register its disapproval of
Texas’s SIP addressing the requirements of 42 U.S.C. § 7410(a)(2)(D)(i)(I) for the
2015 8-hour ozone NAAQS. That ﬁnal action was part of Air Plan Disapprovals; In-
terstate Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient Air
Quality Standards, 88 Fed. Reg. 9,336 (Feb. 13, 2023) (“Final Rule”) (C.I. HQ-20).
The Texas State Petitioners timely petitioned for review of the Texas SIP disap-

proval, Docs. 1-1, 44-1, invoking this Court’s jurisdiction under 42 U.S.C.
§ 7607(b)(1).

                           Issues Presented
   1.    Whether EPA’s disapproval of Texas’s SIP was unlawful because EPA ig-
nored the Act’s cooperative federalism and impermissibly relied on factors not men-
tioned in the Act.
   2.    Whether EPA’s disapproval of Texas’s SIP was unlawful because EPA
failed to provide fair notice of the standards by which Texas’s SIP would ultimately
be evaluated.
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                               Introduction
    The Clean Air Act is “an experiment in cooperative federalism” through which
Congress “establishe[d] a comprehensive program for controlling and improving the
nation’s air quality through state and federal regulation.” Texas v. EPA, 829 F.3d
405, 411 (5th Cir. 2016) (“Texas 2016”). In particular, Congress tasked EPA with
setting NAAQS, but it ensured that States would play the primary role in implement-
ing them. Id.

    This case concerns the regulation of ozone, a pollutant when present at ground
level. In 2015, EPA set new primary and secondary ozone NAAQS, triggering
Texas’s obligation to revise its SIP for ozone to demonstrate how it would meet the
new standards. The SIP revision had to demonstrate compliance with the Act’s
“good neighbor” provision, which required Texas to show that in-state emissions of
ozone precursors would not “contribute signiﬁcantly to nonattainment in” or “in-
terfere with maintenance” of the ozone NAAQS by downwind States. 42 U.S.C.
§ 7410(a)(2)(D)(i)(I).
    Preparation of a SIP revision of this variety takes years. It is a complex, time-
consuming, and technical undertaking. Texas timely submitted its SIP revisions to
EPA, which is statutorily tasked with reviewing SIPs for compliance with the Act’s
requirements.

    Under the Act’s structure of cooperative federalism, EPA’s role at the SIP-stage
is “ministerial.” Texas 2016, 829 F.3d at 411. If a SIP meets statutory requirements,
“EPA must approve it.” Texas v. EPA, 690 F.3d 670, 676 (5th Cir. 2012) (“Texas

2012”). At this stage, “EPA does not possess any ‘discretionary authority’”; that


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authority rests “[o]nly [with] the states.” Luminant Generation Co. v. EPA, 675 F.3d
917, 928 n.8 (5th Cir. 2012).
    EPA eschewed that congressional design. It delayed ﬁnal action on Texas’s SIP
for more than four years after Texas’s timely submission—and more than three years
after it was statutorily required to act. In the meantime, however, EPA developed

new data, models, and methodologies by which to judge Texas’s submission. And
when it eventually did act on Texas’s SIP, EPA deployed those previously unavaila-
ble tools to reject Texas’s technical analysis and disapprove Texas’s SIP. That dis-
approval set the stage for EPA’s imposition of a FIP that, absent this Court’s inter-
vention earlier this month, would have strained, to potentially devastating effect,
Texas’s economy and electrical grid.
    EPA’s disapproval of Texas’s SIP flouts two fundamental administrative-law
precepts enshrined in the Administrative Procedure Act (“APA”). The ﬁrst is that
agency action must not exceed the scope of congressionally conferred authority. EPA

ignored that principle, discarding the Act’s cooperative federalism and relying on
factors that Congress did not make relevant. The second precept is that agencies
must give regulated parties fair notice of the standards by which their conduct will

be judged. EPA failed to do so here. Its disapproval of Texas’s SIP relied on a “non-
binding” federal policy announced after Texas’s SIP revisions were statutorily due,
and the agency judged Texas’s SIP based on data and modeling that were not avail-

able at the time Texas was statutorily required to submit—and did submit—its SIP.
Because EPA’s disapproval of Texas’s SIP violates these cardinal principles of ad-
ministrative law, it is unlawful and should be set aside.

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                        Statement of the Case

I. Statutory Framework

    A. The Act’s cooperative federalism
   The Clean Air Act requires EPA to identify air pollutants and establish NAAQS.
42 U.S.C. §§ 7408(a), 7409(a). Every ﬁve years, EPA must revise each NAAQS as
appropriate. Id. § 7409(d)(1). A geographic area that meets the NAAQS is called an
“attainment” area; an area that does not is a “nonattainment” area. Id.
§ 7407(d)(1)(A)(i)-(ii); see id. § 7501(2).
   Although the Act requires EPA to set the NAAQS, it assigns the States “primary

responsibility for ensuring that the ambient air meets the NAAQS.” BCCA Appeal
Grp. v. EPA, 355 F.3d 817, 822 (5th Cir. 2003); see 42 U.S.C. § 7407(a). “This divi-
sion of responsibility between the states and the federal government ‘reflects the bal-
ance of state and federal rights and responsibilities characteristic of our federal sys-
tem of government.’” Texas 2016, 829 F.3d at 411 (quoting Luminant, 675 F.3d at
921). It “indicates a congressional preference that states, not EPA, drive the regula-
tory process.” Id.
   To implement the NAAQS, “states must adopt and administer [SIPs],” Lumi-
nant, 675 F.3d at 921, which “provide[] for implementation, maintenance, and en-

forcement” of the NAAQS within their borders, 42 U.S.C. § 7410(a)(1). After EPA
establishes or revises a NAAQS, States have three years to submit SIPs or SIP revi-
sions specifying how the NAAQS will be met and including numerous congression-
ally mandated SIP components. Id. § 7407(a); id. § 7410(a)(1), (a)(2), (a)(2)(H). In
discharging that obligation, States have “broad authority to determine the methods


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and particular control strategies they will use to achieve the statutory requirements,”
BCCA Appeal Grp., 355 F.3d at 822, and “‘wide discretion in formulating [their
SIPs]’” to meet the NAAQS, Luminant, 675 F.3d at 921 (quoting Union Elec. Co. v.
EPA, 427 U.S. 246, 250 (1976)). Indeed, “[s]o long as the ultimate effect of a State’s
choice of emission limitations is compliance with the [NAAQS], the State is at liberty

to adopt whatever mix of emission limitations it deems best suited to its particular
situation.” Texas 2016, 829 F.3d at 411 (quoting Train v. Nat. Res. Def. Council, Inc.,
421 U.S. 60, 79 (1975)).
   Consistent with this preference for state implementation and enforcement, the
Act “conﬁnes EPA’s role in implementing air quality standards ‘to the ministerial
function of reviewing SIPs for consistency with the Act’s requirements.’” Id. (quot-
ing Luminant, 675 F.3d at 921); see 42 U.S.C. § 7410(a)(1), (l). In other words, if a
SIP meets the statutory requirements, “EPA must approve it.” Texas 2012, 690
F.3d at 676; see 42 U.S.C. § 7410(k)(3) (providing that “the Administrator shall ap-

prove [a SIP] as a whole if it meets all of the applicable requirements of [the Act]”
(emphasis added)); 40 C.F.R. § 52.02(a). “Only if the state has not complied with
the requirements of the Clean Air Act does EPA assume the role of primary regulator

by drafting a [FIP].” Texas 2016, 829 F.3d at 412; see 42 U.S.C. § 7410(c)(1); id.
§ 7602(y) (deﬁning a FIP, in part, as “a plan . . . promulgated by the [EPA] Admin-
istrator to ﬁll all or a portion of a gap or otherwise correct all or a portion of an inad-

equacy in a [SIP]”).
   The Act requires EPA to take action on a SIP within 18 months of its submission.
Congress directed EPA to determine, within the ﬁrst six months, whether a SIP is

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technically and administratively complete. 42 U.S.C. § 7410(k)(1)(B). If EPA does
not issue a completeness ﬁnding within six months, the SIP is deemed to meet the
minimum criteria by operation of law. Id. Upon its issuance of a completeness ﬁnd-
ing, EPA has 12 months to approve or disapprove the SIP. Id. § 7410(k)(2)-(3).

    B. The “good neighbor” provision
   As noted, the Act enumerates several substantive requirements for SIPs. Id.
§ 7410(a)(2). Relevant here is the “good neighbor” provision, which requires “up-

wind States to reduce emissions to account for pollution exported beyond their bor-
ders.” EPA v. EME Homer City Generation, L.P., 572 U.S. 489, 499 (2014). The text
of this provision requires that a SIP “contain adequate provisions” prohibiting emis-
sions that “will . . . contribute signiﬁcantly to nonattainment in, or interfere with
maintenance by, any other State with respect to any [NAAQS].” 42 U.S.C.
§ 7410(a)(2)(D)(i)(I); see also id. § 7410(a)(2)(D)(i)(II) (requiring a SIP to prohibit

emissions that will “interfere with measures required to be included” in other
States’ SIPs “to prevent signiﬁcant deterioration of air quality or to protect visibil-
ity”); Texas 2016, 829 F.3d at 411 (involving action taken under subsection

(a)(2)(D)(i)(II)).

II. Factual Background and Administrative History

    A. EPA revises the ozone NAAQS
   The story here begins with EPA’s October 2015 revision of the ozone NAAQS.
National Ambient Air Quality Standards for Ozone, 80 Fed. Reg. 65,292 (Oct. 26,
2015) (promulgated Oct. 1, 2015). That action replaced the preexisting ozone



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NAAQS of 0.075 parts per million (ppm) with a more stringent 0.070 ppm. Id. at
65,293-94. EPA’s October 1, 2015, revision of the NAAQS triggered Texas’s statu-
tory obligation to revise its SIP within three years, or by October 1, 2018. 42 U.S.C.
§ 7410(a)(1).

    B. EPA issues data and guidance for SIP revisions
    Between the time that EPA revised the NAAQS and the date that Texas’s SIP
revisions were due, EPA issued guidance documents to assist the States with their

SIP-revision task. Two of those documents are relevant here. But before diving into
them, a bit of technical background is needed.
    First, EPA’s guidance spoke in terms of base-year modeling of ozone concentra-
tions. In that type of modeling, the base year is the “center” year in a multi-year
period of data collected from air-quality monitors. So, for example, when monitored
values are from 2009-2011, 2010-2012, and 2011-2013, the base year would be 2011.

That year is EPA’s “starting point for projecting air quality concentrations in future
years.” Air Plan Disapproval; Arkansas, Louisiana, Oklahoma and Texas; Interstate
Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient Air Qual-

ity Standards, 87 Fed. Reg. 9,798, 9,826 (Feb. 22, 2022) (“Proposed Rule”) (C.I.
R6-1).
    Second, the guidance talked about design values. A “design value” is just “a
statistic that describes the air quality status of a given location relative to the level
of the NAAQS.” Id. at 9,800 n.8; see id. at 9,826.




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        1.   The 2017 notice of data availability
   In January 2017, EPA issued a document making available to the States “prelim-
inary air quality modeling data” to “help states as they develop[ed] SIPs to address”
their good-neighbor obligations for the 2015 ozone NAAQS. Notice of Availability
of the Environmental Protection Agency’s Preliminary Interstate Ozone Transport

Modeling Data for the 2015 Ozone National Ambient Air Quality Standard
(NAAQS), 82 Fed. Reg. 1,733, 1,735 (Jan. 6, 2017) (“2017 NODA”). EPA, however,
assured the States that they could “choose to modify or supplement these data in
developing their” SIPs. Id.
   In the 2017 NODA, EPA “used a 2011-based modeling platform to develop base
year and future year emissions.” Id. The “platform included meteorology for 2011,

base year emissions for 2011, and future year base case emissions for 2023.” Id.
These “2011 and 2023 air quality modeling results were used to identify areas [of the
United States] that [we]re projected to be in nonattainment or have problems main-
taining the 2015 ozone NAAQS in 2023.” Id.

        2. The March 2018 transport guidance
   In March 2018, seven months before Texas’s statutory deadline to revise its SIP,
EPA issued another document designed to “assist states in their efforts to develop
good neighbor SIPs for the 2015 ozone NAAQS.” C.I. R7-18 (“March 2018

Transport Guidance”) at 2. This memorandum provided two forms of guidance for
flexible approaches to transport analysis that are relevant here.
   First, EPA described an “alternative approach” for identifying maintenance re-

ceptors “that d[id] not rely on the projection of maximum design values.” Id. at A-


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2. The March 2018 Transport Guidance also suggested that maintenance receptors
could be identiﬁed “where current, presumably ‘clean,’ measured data are shown
through analysis to occur during meteorological conditions conducive to ozone for-
mation such that exceedances are unlikely to reoccur in the future.” Id. at A-2.
   Second, to carry out the modeling of future ozone concentrations, EPA explained

that States could use EPA’s modeling, which was based on data gathered from the
years 2009-2013 (base year 2011). Id. at 3-4. That recommendation aligned with the
analysis EPA used in the 2017 NODA. See 82 Fed. Reg. at 1,735.
   Yet it was still, according to EPA, just a recommendation. EPA reassured States
that they could “supplement the information provided in [the March 2018
Transport Guidance] with any additional information that they believe[d] [wa]s rel-
evant” and “choose to use other information to identify nonattainment and mainte-
nance receptors relevant to development of their good neighbor SIPs.” Id. at 6. EPA
also noted that States could use “appropriate alternative base years.” Id. at A-2.

    C. Texas timely submits its SIP revisions
    On August 17, 2018, TCEQ timely submitted revisions to Texas’s SIP. C.I. R6-
6 (“Texas SIP”); see Proposed Rule, 87 Fed. Reg. at 9,798. Once again, a bit of back-
ground is necessary to put those revisions in context.
   In FIPs promulgated to satisfy previous NAAQS, EPA has followed a four-step,
nonstatutory, nonregulatory, and nonbinding approach under the good-neighbor
provision. EPA’s ﬁrst step is “[i]dentifying downwind receptors that are expected
to have problems attaining the NAAQS (nonattainment receptors) or maintaining

the NAAQS (maintenance receptors).” Federal Implementation Plan Addressing

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Regional Ozone Transport for the 2015 Ozone National Ambient Air Quality Stand-
ard, 87 Fed. Reg. 20,036, 20,054 (Apr. 6, 2022) (proposed rule). The process in-
volves gathering historical data from downwind air-quality receptors and using mod-
eling to assess future air-quality problems. Id. EPA’s second step is “determining
which upwind states are ‘linked’ to these identiﬁed downwind receptors based on a

numerical contribution threshold.” Id. Under EPA’s preferred (but, again, nonbind-
ing) approach, a State that contributes more than one percent of the NAAQS to a
downwind State is “linked” to that State. Id. EPA’s third step, for any State “linked
to downwind air quality problems,” is “identifying upwind emissions on a statewide
basis that signiﬁcantly contribute to downwind nonattainment or interfere with
downwind maintenance of the NAAQS, considering cost- and air quality-based fac-
tors.” Id. And EPA’s fourth step, for any upwind State “found to have emissions
that signiﬁcantly contribute to nonattainment or interfere with maintenance of the
NAAQS in any downwind state,” is “implementing the necessary emissions reduc-

tions through enforceable measures.” Id.
    In preparing Texas’s SIP revision, TCEQ referred to EPA’s 2017 NODA and
March 2018 Transport Guidance, “using a framework similar to EPA’s 4-Step

framework,” Proposed Rule, 87 Fed. Reg. at 9,824, for assessing interstate ozone
pollution. But TCEQ included “several key improvements.” C.I. R6-6 at 3-1.
    TCEQ’s approach entailed: (1) identifying receptors projected to be in nonat-

tainment status or to have maintenance issues in a future year; (2) identifying recep-
tors in other States that might be affected by emissions from Texas; and (3) deter-
mining whether Texas emissions contribute signiﬁcantly to nonattainment in, or

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interfere with maintenance of the ozone NAAQS by, downwind States. Id. Step 1 of
TCEQ’s three-step process corresponded to step 1 of EPA’s four-step process,
while steps 2 and 3 corresponded to EPA’s step 2. Id. at 3-2. Only if TCEQ’s analysis
identiﬁed a good-neighbor violation would TCEQ proceed to what EPA calls steps 3
and 4. Id.

    At step 1, TCEQ used an EPA-recommended approach to identify nonattain-
ment receptors. Id. at 3-37. But for identifying maintenance receptors, TCEQ took a
slightly different approach. It used the most recent three-year average design value
that included the base year 2012 (2010-2012, 2011-2013, and 2012-2014 periods),
whereas EPA had recommended using the maximum of the three-year average design
value that included the base year 2011 (i.e., the highest value from the 2010-2012,
2011-2013, 2012-2014 periods). Id. at 3-3, 3-39; see Proposed Rule, 87 Fed. Reg. at
9,827; March 2018 Transport Guidance at 3-4; 2017 NODA, 82 Fed. Reg. at 1,735.
TCEQ utilized this alternate approach because it found that the most recent design

value “reflect[ed] the current state of ozone concentrations in [a downwind] area
and the impact of any maintenance plans that [we]re in place to prevent local emis-
sions from causing an area to slip back into nonattainment[.]” C.I. R6-6 at 3-42.

    At step 2, in line with EPA guidance, TCEQ identiﬁed nonattainment and
maintenance receptors with projected Texas contributions to ozone design values of
greater than one percent of the NAAQS and selected those receptors for further re-

view at step 3. Id. at 3-47 to 3-48.
    And at step 3, TCEQ employed a “weight-of-evidence” analysis to determine
whether Texas’s ozone contributions to downwind States were “signiﬁcant.” Id. at

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3-50. Under that analysis, Texas’s ozone contributions would be deemed “sign-
iﬁcant” “only if there [were] a persistent and consistent pattern of contribution on
several days with elevated ozone.” Id. at 3-50 to 3-51. To determine whether such a
pattern existed, TCEQ weighed a variety of factors for each linked receptor, includ-
ing trends in the design values, the meteorological conditions that lead to high ozone

formation at the downwind receptor, and the number of days with elevated ozone.
Id. at 3-50. Applying those factors to the nonattainment and maintenance receptors
identiﬁed at step 2, TCEQ concluded that Texas’s emissions do not contribute
signiﬁcantly to nonattainment of the NAAQS in, or interfere with maintenance of
the NAAQS by, any downwind State. Id. at 3-50 to 3-76.

    D. EPA issues after-the-fact maintenance guidance
    On October 19, 2018—more than two weeks after the statutory deadline for
Texas to submit SIP revisions—EPA issued a memorandum providing updated guid-
ance for use in identifying downwind maintenance receptors. C.I. R7-11 (“October
2018 Maintenance Receptor Memo”). That memorandum materially departed from
the March 2018 Transport Guidance.

    As noted, EPA indicated in the March 2018 Transport Guidance that States
could identify maintenance receptors that are currently meeting the NAAQS but
may struggle to do so in the future by “using an alternative approach that does not
rely on the projection of maximum design values” and in locations “where current,
presumably ‘clean,’ measured data are shown through analysis to occur during me-
teorological conditions conducive to ozone formation such that exceedances are un-

likely to re-occur in the future.” C.I. R7-18 at A-2. But in the October 2018

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Maintenance Receptor Memo, EPA added a requirement, stating that if a State
“use[d] a design value . . . that [wa]s not the maximum design value” or eliminated
a site as a maintenance receptor, EPA “would expect [the State] to include with [its]
SIP demonstration” evidence that “ozone concentrations ha[d] been trending
downward at the site since 2011.” C.I. R7-11 at 4; cf. C.I. R7-18 at A-2.

    EPA stated, however, that its October 2018 memorandum did “not impose
binding, enforceable requirements on any party” and that “State air agencies re-
tain[ed] the discretion to develop good-neighbor SIP revisions that differ[ed] from”
EPA’s after-the-fact guidance. C.I. R7-11 at 1. As one might expect from that state-
ment, nothing in the guidance indicated that compliance with EPA’s new recom-
mendations would be dispositive of a SIP submission.

    E. EPA proposes disapproval of Texas’s SIP and publishes a
       proposed FIP for Texas
    In February 2022, two years after it was statutorily required to act, EPA pro-
posed a combined disapproval of Texas’s, Oklahoma’s, Louisiana’s, and Arkansas’s
SIPs. Proposed Rule, 87 Fed. Reg. at 9,798; see 42 U.S.C. § 7410(k)(1)-(3) (reflecting
that EPA has a maximum of 18 months to act after a SIP is submitted). In that pro-
posed rule, EPA ﬁrst took issue with TCEQ’s methodology for identifying mainte-
nance receptors, concluding that use of the most recent three-year average design

value over a ﬁve-year period—as opposed to the maximum three-year average design
value over a ﬁve-year period—failed to sufﬁciently account for “meteorological var-
iability in identifying those areas that” may currently be meeting the NAAQS but

may struggle to maintain the NAAQS in the future. 87 Fed. Reg. at 9,826-29.


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    EPA next criticized TCEQ’s modeling methodology, stating that TCEQ’s mod-
eling (base year 2012) “underestimate[d] future ozone levels.” Id. at 9,829. EPA in-
stead used a new “2016v2” modeling platform (base year 2016), which it developed
long after TCEQ had submitted Texas’s SIP. Id. at 9,800, 9,829-30. Using that new
platform, EPA faulted TCEQ’s modeling for “not adequately identifying nonattain-

ment and/or maintenance receptors in 2023.” Id. at 9,829.
    EPA also rejected TCEQ’s weight-of-evidence approach to determining
“signiﬁcance” of contributions for linked receptors. Id. at 9,831-34. EPA concluded
that, because even TCEQ’s own modeling showed ozone contributions greater than
one percent of the NAAQS at certain downwind receptors in California and Colo-
rado, “signiﬁcance” was “already established.” Id. at 9,833. EPA therefore rejected
TCEQ’s multi-factor analysis demonstrating that no Texas ozone contribution
greater than one percent of the NAAQS was “signiﬁcant” within the meaning of the
Act because it did not show a “persistent and consistent pattern of contribution on

several days with elevated ozone.” Id. at 9,832-33.
    Even though EPA had not ﬁnally acted on Texas’s SIP revisions, a mere month-
and-a-half after proposing to disapprove the SIP, EPA published a proposed FIP for

Texas. 87 Fed. Reg. at 20,036.

    F. TCEQ submits comments on EPA’s proposed SIP disapproval
    In response to the proposed SIP disapproval, TCEQ submitted comments iden-
tifying several problems with EPA’s analysis. TCEQ ﬁrst explained that EPA’s at-
tempt to leverage its disregard for Congress’s deadline for acting on Texas’s SIP to

introduce new guidance, modeling, and data violated the Act’s cooperative

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federalism. C.I. R6-28 at 1-3 (“TCEQ Comments”). TCEQ next argued that it was
improper for EPA to disapprove the SIP in part by relying on maintenance-receptor
guidance issued after Texas submitted its SIP, id. at 5-6, and by using a modeling
platform and data from 2014-2018 that were not available to TCEQ until long after
Texas’s SIP-revision deadline had passed, id. at 6-9. Finally, TCEQ challenged

EPA’s use of its one-percent contribution threshold as the sole proxy for determin-
ing whether emissions by an upwind State “signiﬁcant[ly]” contribute to nonattain-
ment of the NAAQS in a downwind State. Id. at 9-10.

    G. EPA ﬁnalizes its disapproval of Texas’s SIP revision
    On February 13, 2023, three years after its statutory deadline to act, EPA issued
the Final Rule disapproving Texas’s SIP. 88 Fed. Reg. at 9,359-60. The Final Rule
utilized a new modeling platform—different even from the one EPA used in the Pro-
posed Rule—that EPA published just one month before promulgating the Final Rule.
See id. at 9,343-44, 9,359. That new platform projected that Texas was “linked above
1 percent of the NAAQS to one nonattainment receptor and nine maintenance-only
receptors” as well as “ten violating-monitor maintenance-only receptor[s].” Id. at

9,359; see id. at 9,342 (explaining what EPA meant by a “violating-monitor mainte-
nance-only receptor”). Invoking its analysis in the Proposed Rule, EPA asserted that
TCEQ’s “deﬁnition of maintenance receptors and modeling” were “inadequately

justiﬁed and legally and technically flawed.” Id. at 9,359-60. And because Texas was
linked to receptors at greater than one percent of the NAAQS, EPA concluded that
TCEQ was required to, but did not, include “permanent and enforceable emissions
controls in its SIP submission.” Id. at 9,360.

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    The Final Rule also offered several responses to TCEQ comments on the Pro-
posed Rule. First, in response to TCEQ’s points about cooperative federalism, EPA
summarily stated that it “does not . . . agree” with the “characterization” of its role
in the SIP process as “secondary” and that such comments “fundamentally misun-
derstand or inaccurately describe this action.” Id. at 9,367. Second, EPA asserted

that it “does not use the 1 percent of the NAAQS threshold as the deﬁnition of
‘signiﬁcance’” but instead uses it as a “screening threshold” for determining which
States must “further evaluat[e] . . . emissions control opportunities.” Id. at 9,371.
Third, EPA contended that it did not reject TCEQ’s methodology for selecting
maintenance receptors based on the October 2018 Maintenance Receptor Memo;
that TCEQ could not have legitimately relied on any statements in the March 2018
Transport Guidance because it was expressly made nonbinding; and that, in any
event, after-arising D.C. Circuit case law undermined the March 2018 Transport
Guidance, rendering it unsound. Id. at 9,364, 9369-70. Finally, EPA asserted that it

had not improperly sprung its new modeling platform on Texas because EPA had
been publishing a series of updated modeling platforms since November 2020 and
the States could have “consider[ed] how [EPA’s] modeling updates could affect”

the status of their SIPs “for purposes of evaluating potential linkages for” the 2015
ozone NAAQS. Id. at 9,366.

III. Litigation History
    Among other parties, the Texas State Petitioners timely petitioned this Court
for review of EPA’s disapproval of the Texas SIP. Docs. 1, 44. Texas and TCEQ

moved to stay that disapproval, arguing that they were likely to succeed on the merits

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for two reasons: (1) EPA failed to explain its after-the-fact reversal of prior guidance
regarding how States should identify maintenance receptors, Doc. 31 at 12-15; and
(2) EPA disregarded the Act’s cooperative federalism by utilizing information avail-
able only after Texas was statutorily required to submit its SIP revisions, id. at 16-18.
Texas and TCEQ also argued that they would be irreparably injured absent a stay,

and that the public interest and balance of equities favored a stay, because the SIP
disapproval was the predicate act to EPA’s imposition of a FIP that would strain, to
potentially devastating effect, Texas’s economy and electrical grid. Id. at 18-19. Sev-
eral Texas industry parties also sought a stay of the Texas SIP disapproval. Doc. 32.
    EPA ﬁled a consolidated opposition to the stay motions. Doc. 179; see also
Docs. 197, 203 (replies). It also moved to transfer the case to the D.C. Circuit, con-
tending that venue for challenges to the Final Rule, or any part of it, lay only in that
Court. Doc. 50.
    On May 1, 2023, a panel of this Court denied EPA’s motion to transfer venue

(over Judge Douglas’s dissent) and stayed the Texas SIP disapproval. Doc. 269-1
(Order, Texas v. EPA, No. 23-60069 (5th Cir. May 1, 2023) (per curiam) (“Texas
2023”)). The panel majority ﬁrst concluded that venue was proper in this Court be-

cause, under the plain language of 42 U.S.C. § 7607(b)(1), EPA’s disapproval of
Texas’s SIP was a “locally or regionally applicable” action and venue for a petition
for review challenging such an action lies in the “appropriate” regional circuit (here,

this Court). Id. at 9-11. The panel majority also rejected EPA’s argument based on
section 7607(b)(1)’s exception making the D.C. Circuit the proper venue when an
EPA action is “based on a determination of nationwide scope or effect” and EPA

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publishes a ﬁnding to that effect, explaining that EPA’s disapproval of each State’s
SIP was “based on a number of intensely factual determinations unique to each
State.” Id. at 11-12 (citation omitted).
    The panel also granted a stay. Id. at 13-24. It concluded that Texas and TCEQ
were likely to succeed on the merits of their APA claims because they had made “a

strong showing that the EPA acted unlawfully by considering factors listed no-
where” in the Act and “are likely to prevail on the claim that the EPA arbitrarily and
capriciously based [the Texas SIP disapproval] in part on information only available
after Texas . . . had submitted [its] SIP[].” Id. at 14. The panel further concluded
that Texas and TCEQ had demonstrated irreparable harm and that the public inter-
est and balance of equities favored a stay. Id. at 22-24; see also id. at 30 (reflecting
that, because of her view on venue, Judge Douglas found it unnecessary “to reach
Petitioners’ motions to stay”).

                     Summary of the Argument
   The Court should hold unlawful and set aside EPA’s disapproval of Texas’s SIP
for at least two reasons.

   I.    In disapproving Texas’s SIP, EPA both disregarded factors that Congress
instructed it to consider when analyzing SIPs and simultaneously imposed require-
ments that Congress did not authorize. Either ground is sufﬁcient to doom agency

action. See Luminant, 675 F.3d at 925-26.
   EPA failed to consider relevant factors because its disapproval ran roughshod
over the Act’s cooperative federalism, which makes the States the primary drivers
of implementing the NAAQS through SIPs. As the motions panel correctly

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explained, the Act’s cooperative federalism cabins EPA’s timeframe for acting on
States’ SIP submissions and conﬁnes EPA to the ministerial role of reviewing SIPs
for consistency with the Act’s requirements. Texas 2023 at 21. EPA ignored those
limitations. It missed its statutory deadline by years, then used its own delay to de-
velop new data, models, and methodologies that were unavailable to Texas at the

time its SIP revisions were due.
   EPA’s disapproval also held Texas to requirements found nowhere in the Act.
Speciﬁcally, EPA treated any ozone contribution by Texas to a downwind receptor
at greater than one percent of the NAAQS as a presumptively “signiﬁcant” contri-
bution. Congress imposed no such threshold.
   II.    EPA also failed to provide fair notice of the standards by which Texas’s SIP
would be judged. EPA denied that basic procedural right in two ways.
   First, even though Texas’s SIP followed an approach that EPA had previously
endorsed, EPA ultimately rejected Texas’s method for identifying maintenance re-

ceptors based on its post-deadline, supposedly nonbinding alteration of that pre-
ferred approach. EPA failed to explain that dispositive policy change or account for
Texas’s reliance interests.

   Second, in disapproving Texas’s SIP, EPA utilized new modeling platforms,
which identiﬁed new linkages to downwind receptors, that the agency developed
long after Texas’s SIP-submission deadline had passed. Indeed, the modeling plat-

form EPA used in the Final Rule was issued a mere month before the Final Rule was
published. Texas and TCEQ therefore had no opportunity to explore inconsistences



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in the results of the new modeling platform or otherwise explore the propriety of its
use.

                           Standard of Review
       The APA empowers this Court to “hold unlawful and set aside” certain

“agency action”—including, as relevant here, action found to be “arbitrary, capri-
cious, an abuse of discretion, or otherwise not in accordance with law” or “in excess
of statutory jurisdiction, authority, or limitations, or short of statutory right.”

5 U.S.C. § 706(2)(A), (C); accord 42 U.S.C. § 7607(d)(9)(A), (C).
       “The APA’s arbitrary-and-capricious standard requires that agency action be
reasonable and reasonably explained.” FCC v. Prometheus Radio Project, 141 S. Ct.
1150, 1158 (2021). An action will be found arbitrary or capricious “‘if the agency has
relied on factors which Congress has not intended it to consider, entirely failed to
consider an important aspect of the problem, offered an explanation for its decision

that runs counter to the evidence before the agency, or is so implausible that it could
not be ascribed to a difference in view or the product of agency expertise.’” Tex. Oil
& Gas Ass’n v. EPA, 161 F.3d 923, 933 (5th Cir. 1998) (quoting Motor Vehicle Mfrs.
Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)). “Put simply, [the
Court] must set aside any action premised on reasoning that fails to account for ‘rel-
evant factors’ or evinces a ‘clear error of judgment.’” Univ. of Tex. M.D. Anderson

Cancer Ctr. v. HHS, 985 F.3d 472, 475 (5th Cir. 2021) (quoting Marsh v. Or. Nat.
Res. Council, 490 U.S. 360, 378 (1989)). This review is “not toothless.” Wages &
White Lion Invs. v. FDA, 16 F.4th 1130, 1136 (5th Cir. 2021). Indeed, “after [DHS v.

Regents of the University of California, 140 S. Ct. 1891 (2020)], it has serious bite.” Id.

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                                  Argument

I. In Disapproving Texas’s SIP, EPA Failed to Account for Relevant
   Factors and Relied on Non-Statutory Grounds for Its Decision.
    “[F]ailure to consider ‘relevant factors’ will render ‘an agency’s decreed result’
unlawful.” R.J. Reynolds Vapor Co. v. FDA, 65 F.4th 182, 189 (5th Cir. 2023) (quot-
ing Michigan v. EPA, 576 U.S. 743, 750 (2015)). So will “reli[ance] on factors which
Congress has not intended it to consider.” Luminant, 675 F.3d at 930 (quoting State
Farm, 463 U.S. at 43). EPA committed both of those administrative transgressions.

    A. EPA’s disapproval disregarded the Act’s cooperative federalism.
    1. As already noted, the Act assigns the States “primary responsibility for en-
suring that the ambient air meets the NAAQS.” BCCA Appeal Grp., 355 F.3d at 822;
see 42 U.S.C. § 7407(a). It confers “broad authority [on the States] to determine the
methods and particular control strategies they will use to achieve the statutory re-
quirements,” BCCA Appeal Grp., 355 F.3d at 822, and gives them “‘wide discretion
in formulating [SIPs],’” Luminant, 675 F.3d at 921 (quoting Union Elec., 437 U.S. at

250).
    By contrast, EPA’s “overarching role is in setting standards, not in implemen-
tation.” Michigan v. EPA, 268 F.3d 1075, 1083 (D.C. Cir. 2001). EPA’s “narrow
role” at the SIP stage, Fla. Power & Light Co. v. Costle, 650 F.2d 579, 578 (5th Cir.
Unit B June 1981), is limited “‘to the ministerial function of reviewing SIPs for con-
sistency with the Act’s requirements,’” Texas 2016, 829 F.3d at 411 (quoting Lumi-

nant, 675 F.3d at 921); see 42 U.S.C. § 7410(a)(1), (l). If a SIP meets the statutory
requirements, “EPA must approve it.” Texas 2012, 690 F.3d at 676 (emphasis



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added); see 42 U.S.C. § 7410(k)(3) (“the Administrator shall approve [a SIP] as a
whole if it meets all of the applicable requirements of [the Act]” (emphasis added));
40 C.F.R. § 52.02(a). Stated differently, “EPA does not possess any discretionary
authority in th[e] [SIP-approval] process. Only the states enjoy discretion in imple-
menting the dictates of the [Act].” Texas 2023 at 16 (quoting Luminant, 675 F.3d at

928 n.8) (alterations in original).
    This division of responsibility “reflects the balance of state and federal rights
and responsibilities characteristic of our federal system of government” and “indi-
cates a congressional preference that states, not EPA, drive the regulatory process.”
Texas 2016, 829 F.3d at 411. As the motions panel explained, this congressional
choice “is clearly reflected throughout the [Act], such as [in] the provisions cabining
the Agency’s decisional timeframe, 42 U.S.C. § 7410(k)(1)-(2), and the sections
‘conﬁn[ing] the EPA to the ministerial function of reviewing SIPs for consistency
with the Act’s requirements.’” Texas 2023 at 21 (quoting Luminant, 675 F.3d at 921)

(ﬁrst and second alterations in original).
    2. An “agency . . . may not exercise its authority ‘in a manner inconsistent with
the administrative structure that Congress enacted into law.’” R.J. Reynolds, 65

F.4th at 194 (quoting FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 125
(2000)). Yet that is what happened here. EPA’s disapproval of Texas’s SIP lever-
aged the agency’s own disregard of its statutory deadline for acting on SIP submis-

sions to disapprove Texas’s SIP based on data that was not available at the time the
State was statutorily required to—and did—submit its SIP revisions. EPA flouted



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the Act’s cooperative federalism and thereby “fail[ed] to account for ‘relevant fac-
tors’ or evince[d] a ‘clear error of judgment.’” Univ. of Tex., 985 F.3d at 475.
    As described above, EPA’s October 1, 2015, revision of the NAAQS triggered
Texas’s three-year deadline to revise its SIP, 42 U.S.C. § 7410(a)(1), and Texas
timely submitted its revised SIP on August 17, 2018, see Proposed Rule, 87 Fed. Reg.

at 9,798. Relevant here, TCEQ’s SIP revisions reflected an assessment of the impact
that Texas’s ozone contributions had on downwind States using data from a ﬁve-
year period from 2010-2014, C.I. R6-6 at 3-3 to 3-6—an approach similar to what
EPA recommended, mere months before Texas’s submission deadline, in its March
2018 Transport Guidance. See C.I. R7-18 at 3-6. Following that approach, TCEQ
concluded that “Texas emissions do not contribute signiﬁcantly to nonattainment
or interfere with maintenance of the 2015 eight-hour ozone NAAQS at any down-
wind” receptor. C.I. R6-6 at 3-75.
    Despite having a maximum of 18 months to approve or disapprove the SIP, 42

U.S.C. § 7410(k)(1)-(2), EPA did not act on Texas’s timely SIP revisions until two
years after the statutory deadline had passed. Proposed Rule, 87 Fed. Reg. at 9,798.
By that time, EPA had accumulated new data and developed a new modeling plat-

form. Id. at 9,828. And it used the information derived from its new data set, which
included data from the same year that Texas’s SIP revision was due, as a basis for
disapproval of Texas’s SIP. Id.

    Commenters, including TCEQ, raised the impropriety of using data not availa-
ble at the relevant time (and available to EPA only because of its failure to meet its
statutory deadline) as a basis upon which to reject Texas’s SIP. C.I. R6-28 at 6; Final

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Rule, 88 Fed. Reg. at 9,366 (EPA’s concession that this new data set was published
in “November of 2020,” seven months after EPA was statutorily required to ap-
prove or disapprove Texas’s SIP). In response, EPA stated in the Final Rule that it
should not be “prohibited from taking rulemaking action using the best information
available to it at the time it takes such action.” 88 Fed. Reg. at 9,366. And it con-

cluded that “[n]othing in the [Act] suggests that the Agency must deviate from that
general principle when acting on SIP submissions.” Id.
    Contrary to EPA’s suggestion, id., Texas does not argue that EPA must conﬁne
itself to outdated data when assessing States’ SIP submissions. But if EPA wishes to
rely on data that became available only after the SIP-submission deadline, the Act
provides a mechanism for introducing those new data into the SIP process: issue a
“SIP call” to allow the State to address the new information in the ﬁrst instance. See
42 U.S.C. § 7410(k)(5); see also BCCA Appeal Grp., 355 F.3d at 822 (conﬁrming the
States’ “primary responsibility” for ensuring compliance with the NAAQS).

    Were it otherwise, the Act’s cooperative federalism would become little more
than a suggestion. As the motions panel recognized, under EPA’s view of the law,
the agency could ignore its statutorily assigned deadlines with impunity, collect new

data after the expiration of a State’s statutory deadline to act, reject a SIP revision
based on inconsistency with the new data, and then impose a FIP that ensures a fed-
eral takeover of a State’s economy. See Texas 2023 at 21-22 (observing that, if ac-

cepted, EPA’s argument would free the agency to “easily flout the [Act]’s deadlines
with impunity, then leverage that disregard to summarily reject SIPs based on the



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States’ failure to consider information that only became available after the SIP-sub-
mission deadline”).
    That is not how Congress structured the Act. “EPA may not use its own delay
as an excuse for imposing burdens on Texas that” the Act “does not permit.” Texas
2016, 829 F.3d at 430. And nothing in the Act authorizes EPA to second-guess

TCEQ’s technical analysis based on data that became available after Texas’s SIP-
revision deadline. EPA’s approach would invert the Act’s structure by constricting
the States’ “‘wide discretion’ in formulating [their SIPs]” and “transform the
EPA’s statutory role from that of a ‘ministerial’ overseer to one of a freewheeling
dictatorial regulator.’” Texas 2023 at 3, 22 (quoting Luminant, 675 F.3d at 921). Yet
nothing in the Act “suggests that the agency has some overarching jurisdiction to
implement federal programs,” much less “default . . . jurisdiction, authority, or
power.” Michigan, 268 F.3d at 1083. Instead, the Act establishes the opposite ap-
proach, relegating EPA “to a secondary role” at the SIP stage. Train, 421 U.S. at 79.

EPA’s “fail[ure] to account for” this “‘relevant factor[],’” Univ. of Tex., 985 F.3d
at 475, was arbitrary and capricious. The Court could hold unlawful and set aside the
disapproval on that ground alone.

    B. EPA’s disapproval relied on non-statutory factors.
    “It is beyond cavil that the EPA may consider only the requirements of the [Act]
when reviewing SIP submissions.” Luminant, 675 F.3d at 926. EPA acts unlawfully
when it relies on factors that Congress did not intend for it to consider. Id. at 930
(citing State Farm, 463 U.S. at 43). EPA violated those principles by treating its one-

percent contribution threshold as a binding proxy for determining whether a State

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“contribute[s] signiﬁcantly to [NAAQS] nonattainment in” or “interfere[s] with
maintenance [of the NAAQS] by” one or more downwind States. 42 U.S.C.
§ 7410(a)(2)(D)(i)(I).
    As EPA has explained, “[i]f a state’s contribution value does not equal or exceed
the threshold of 1 percent of the NAAQS[,] . . . the state does not contribute

signiﬁcantly to nonattainment or interfere with maintenance of the NAAQS in
downwind states.” Final Rule, 88 Fed. Reg. at 9,342. But if “a state’s contribution
value” does “equal or exceed the 1 percent of the NAAQS threshold,” the State is
“‘linked’ to a downwind air quality problem,” and EPA expects States to engage in
a further analysis of “both air quality and cost as part of a multi-factor analysis” to
establish binding emissions limitations. Id.
    True, EPA has repeatedly claimed that any State whose contribution meets or
exceeds the one-percent threshold does not automatically violate its good-neighbor
obligations; instead, such a State is “screen[ed] in . . . for further evaluation of emis-

sions control opportunities.” Id. at 9,371; see Proposed Rule, 87 Fed. Reg. at 9,803.
But in practice, EPA deploys the one-percent threshold as a presumption of
signiﬁcant contribution that a State must rebut on pain of SIP disapproval. See 2017

NODA, 82 Fed. Reg. at 1,740.
    That is how EPA wielded its one-percent threshold in disapproving Texas’s SIP.
As discussed above, after identifying receptors reflecting ozone contributions of

greater than one percent of the NAAQS, TCEQ employed a multi-factor “weight-
of-evidence” analysis to determine whether Texas’s downwind contributions at
greater than one percent were “signiﬁcant” because they represented a “persistent

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and consistent pattern of contribution” to downwind States on multiple days and
years. C.I. R6-6 at 3-50 to 3-51. EPA, however, rejected that analysis, stating that it
did not “refute” TCEQ’s own modeling results showing contributions by Texas to
downwind receptors at greater than one percent of the NAAQS. Proposed Rule, 87
Fed. Reg at 9,833; see id. at 9,832. That was because EPA considers “signiﬁcance,”

as measured by “a persistent and consistent pattern of contribution on several days
with elevated ozone,” to be “already established by a modeled linkage at [EPA’s]
Step 2.” Id. at 9,833 (emphasis added); see supra p. 10.
    Having concluded that a linkage alone establishes signiﬁcance, EPA purported
to disapprove Texas’s SIP on the ground that TCEQ failed to analyze “whether and
to what degree emissions from [Texas] should be ‘prohibited’ to eliminate emis-
sions” that violate the State’s good-neighbor obligations. Id. at 9,831. EPA incorpo-
rated that analysis by reference in the Final Rule, contending that Texas had “in-
sufﬁcient[ly] evaluat[ed] emissions control opportunities.” 88 Fed. Reg. at 9,360.

    The fundamental problem here is that the “one-percent threshold does not ap-
pear in the text of” the good-neighbor provision. Texas v. EPA, 983 F.3d 826, 839
(5th Cir. 2020). For that reason, EPA lacked statutory authority to treat that thresh-

old as a presumptive ﬁnding of “signiﬁcance” that States must “rebut” to secure
approval of a SIP. See Luminant, 975 F.3d at 930. Maybe EPA could proceed this way
if it “were instead defending a FIP,” where the agency is “entitled to exercise far

more discretion.” Texas 2023 at 16 (citing EME Homer, 572 U.S. at 489). In any
event, EPA’s one-percent threshold is not a congressional prerequisite to SIP ap-
proval. “EPA’s insistence upon [the one-percent threshold] here was unjustiﬁed,”

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“in excess of statutory . . . authority,” and therefore unlawful. Luminant, 675 F.3d
at 930.

II. EPA Deprived Texas of Fair Notice of the Standards by Which Its SIP
    Would be Judged.
    EPA’s disapproval also violated a second foundational principle of administra-
tive law: fair notice. “Dealing with administrative agencies is all too often a compli-
cated and expensive game, and players like [Texas] are ‘entitled to know the rules.’”
R.J. Reynolds, 65 F.4th at 189 (quoting Alaska Prof’l Hunters Ass’n v. FAA, 177 F.3d
1030, 1035 (D.C. Cir. 1999), abrogated on other grounds by Perez v. Mortg. Bankers
Ass’n, 575 U.S. 92 (2015)). “To keep things fair, agencies must give notice of con-

duct the agency ‘prohibits or requires’ and cannot ‘surprise’ a party by penalizing it
for ‘good-faith reliance’ on the agency’s prior positions.” Id. (quoting Christopher v.
SmithKline Beecham Corp., 567 U.S. 142, 156-57 (2012)). Courts have therefore “re-
fused to allow agencies to use the rulemaking process to pull a surprise switcheroo
on regulated entities.” Env’tl Integrity Project v. EPA, 425 F.3d 992, 996 (D.C. Cir.
2005); accord Azar v. Allina Health Servs., 139 S. Ct. 1804, 1810 (2019) (acknowledg-
ing the “surprise switcheroo” doctrine); R.J. Reynolds, 65 F.4th at 189 n.6 (same).
    Here, EPA violated that core principle of administrative law in two ways. First,
EPA premised its SIP disapproval in part on a rejection of Texas’s chosen method
for identifying maintenance receptors—a method that EPA itself endorsed before
Texas’s SIP revisions were due, then altered after Texas submitted its SIP revisions.
Second, EPA utilized platforms for modeling ozone developed long after Texas’s




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SIP-submission deadline, depriving the State of fair notice of the standards by which
its SIP would be judged.

    A. EPA failed to explain the reversal of its prior policy regarding the
       identiﬁcation of maintenance receptors.
    1. “It is axiomatic that the APA requires an agency to explain its basis for a
decision.” Physicians for Soc. Resp. v. Wheeler, 956 F.3d 634, 644 (D.C. Cir. 2020).
“This foundational precept of administrative law is especially important where, as
here, an agency changes course.” Id. “Reasoned decision-making requires that when
departing from precedents or practices, an agency must ‘offer a reason to distinguish
them or explain its apparent rejection of their approach.’” Id. (quoting Sw. Airlines

Co. v. FERC, 926 F.3d 851, 856 (D.C. Cir. 2019)).
    In other words, when an agency reverses “prior policy,” it must provide a “de-
tailed justiﬁcation” for doing so, FCC v. Fox Television Stations, Inc., 556 U.S. 502,
515-16 (2009), and “must take into account ‘serious reliance interests’ its
‘longstanding policies may have engendered’ along with ‘alternatives that are within
the ambit of the existing policy,’” R.J. Reynolds, 65 F.4th at 189 (quoting Regents,
140 S. Ct. at 1913). “Sudden and unexplained change, or change that does not take
account of legitimate reliance on prior interpretation, may be arbitrary, capricious,
or an abuse of discretion.” Smiley v. Citibank (S.D.), N.A., 517 U.S. 735, 742 (1996)
(cleaned up). But regardless of how “the agency justiﬁes its new position, what it
may not do is ‘gloss[] over or swerve[] from prior precedents without discussion.’”
Physicians for Soc. Resp., 956 F.3d at 645 (quoting Sw. Airlines, 926 F.3d at 856).




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    2. EPA’s disapproval violates these commonsense standards. In its March
2018 Transport Guidance, EPA suggested that States could identify maintenance
receptors “using an alternative approach that does not rely on the projection of max-
imum design values” and in locations “where current, presumably ‘clean,’ meas-
ured data are shown through analysis to occur during meteorological conditions con-

ducive to ozone formation such that exceedances are unlikely to reoccur in the fu-
ture.” C.I. R7-18 at A-2. TCEQ followed EPA’s advice, identifying maintenance re-
ceptors that reflected the most recent three-year average design values over a ﬁve-
year period, as opposed to the maximum three-year average design values over a ﬁve-
year period. C.I. R6-6 at 3-39 to 3-40; see Proposed Rule, 87 Fed. Reg. 9,826-27. But
in its October 2018 Maintenance Receptor Memo—issued after Texas’s deadline for
submitting SIP revisions—EPA changed course, adding that, for a State to “use a
design value . . . that is not the maximum design value” or eliminate a site as a
maintenance receptor, EPA “would expect states to include with their SIP[s]” evi-

dence that “ozone concentrations have been trending downward at the site since
2011.” C.I. R7-11 at 4.
    That is a material change. The October 2018 Maintenance Receptor Memo

added a new SIP requirement for States to meet before they could rely on an alterna-
tive method for identifying maintenance receptors: evidence of a downward trend in
ozone concentrations at the site of the receptor since 2011. And critically, although

EPA insisted in the October 2018 Maintenance Receptor Memo that its instructions
were not binding or enforceable, id. at 1, it relied on the standards articulated there
as a basis for disapproving Texas’s SIP, see Final Rule, 88 Fed. Reg. at 9,364

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(explaining, as a basis for disapproval, that “states’ submissions did not meet the
terms of the August or October 2018 memoranda addressing contribution thresholds
and maintenance receptors, respectively”); id. at 9,370 (“EPA evaluated state’s
[sic] analyses and found no state successfully applied the[] criteria [in the October
2018 Maintenance Receptor Memo] to justify the use of one of these alternative ap-

proaches.”).
    A law professor could not fairly fault her students for neglecting to discuss, in an
exam, a Supreme Court decision that changed the legal landscape after the exam was
administered. Yet that is closely akin to what EPA did here. If anything, the situation
is even starker, given EPA’s representation of its guidance as nonbinding. C.I. R7-11
at 1. This is a classic case of “unfair surprise” that penalizes a party for “good-faith
reliance” on an agency’s prior positions. Christopher, 567 U.S. at 156-57; see Exx-
onMobil Pipeline Co. v. DOT, 867 F.3d 564, 579-80 (5th Cir. 2017); Env’tl Integrity
Project, 425 F.3d at 996.

    3. In the Final Rule, EPA offered two justiﬁcations for its policy reversal. Nei-
ther has merit.
    a. EPA ﬁrst argued that Texas could not have legitimately relied on the

March 2018 Transport Guidance because it was not “agency guidance” and EPA
did not “endorse” the methods advocated in it. 88 Fed. Reg. at 9,364, 9369-70. For
that reason, EPA suggested that Texas could not have been prejudiced by the

agency’s about-face in the disapproval. Id. at 9,370.
    But EPA cannot downplay the arbitrary and capricious nature of its “surprise
switcheroo,” Env’tl Integrity Project, 425 F.3d at 996, by claiming that the March

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2018 Transport Guidance was never meant to be binding. “[A]n agency pronounce-
ment will be considered binding as a practical matter if it either appears on its face to
be binding . . . or is applied by the agency in a way that indicates it is binding.” Gen.
Elec. Co. v. EPA, 290 F.3d 377, 383 (D.C. Cir. 2002) (citation omitted).
    Both of those boxes are checked here. The March 2018 Transport Guidance ex-

pressly stated that it “was designed ‘to assist [S]tates’ efforts to develop [G]ood
[N]eighbor SIPs for the 2015 ozone NAAQS.’” Texas 2023 at 20 (quoting C.I. R7-
18 at 2). And EPA treated the guidance as binding, reafﬁrming it in the October 2018
Maintenance Receptor Memo, see C.I. R7-11 at 4 & n.12, and, in the Final Rule, con-
tinuing to suggest that States are not “precluded from relying on the[] concepts” in
the March 2018 Transport Guidance “in the development of their good neighbor
SIP submissions.” 88 Fed. Reg. 9,370.
    Yet EPA ultimately concluded that “no state successfully applied the[] criteria”
mentioned for the ﬁrst time in the October 2018 Maintenance Receptor Memo “to

justify the use of one of the[] alternative approaches” to identifying maintenance
receptors. Id. Indeed, the Final Rule invoked the requirement added in the October
2018 Maintenance Receptor Memo as a basis for disapproving Texas’s SIP. Id. (ex-

plaining that “[t]he air quality data and projections” that EPA amassed after the SIP-
revision deadline “indicate that trends in historic measured data do not necessarily
support adopting a less stringent approach for identifying maintenance receptors”).

    EPA failed to acknowledge that its recommendations in the March 2018 Tran-
sport Guidance “may have engendered serious reliance interests that must be taken
into account.” Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 222 (2016)

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(quotation marks omitted). The bare assertion that States should not have relied on
EPA’s guidance documents because the agency considered them to be nonbinding is
no substitute for “assess[ing] whether there were reliance interests, determin[ing]
whether they were signiﬁcant, and weigh[ing] any such interests against competing
policy concerns.” Regents, 140 S. Ct. at 1915.

    b. EPA also argued that Texas should have known that two D.C. Circuit deci-
sions—Maryland v. EPA, 958 F.3d 1185 (D.C. Cir. 2020) (per curiam), and Wisconsin
v. EPA, 938 F.3d 303 (D.C. Cir. 2019) (per curiam)—“called into question” the
March 2018 Transport Guidance and that Texas should have submitted its own SIP
revision in light of those decisions. Final Rule, 88 Fed. Reg. at 9,364. But EPA’s
premise is faulty: nothing in either Maryland or Wisconsin addressed the proper
method for identifying maintenance receptors for purposes of the good-neighbor
provision. For that reason, EPA’s invocation of them explains nothing about why its
tardy guidance addressing the selection of maintenance receptors—guidance that

EPA characterized as “[non]binding” and “[un]enforceable,” C.I. R7-11 at 1—be-
came binding, enforceable, and indeed dispositive four-and-a-half years after it was
issued.

    Further, EPA’s attempt to put the onus on Texas to account for these D.C. Cir-
cuit decisions again inverts the Act’s cooperative federalism. If Maryland and Wis-
consin had somehow triggered EPA policy reversals affecting SIP submissions, EPA

should have issued a SIP call under 42 U.S.C. § 7410(k)(5) to explain its policy re-
versal and request SIP revisions from States. Cf. R.J. Reynolds, 65 F.4th at 191 (not-
ing that “the FDA could have invited [petitioner] to submit supplemental ﬁlings to

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shore up its . . . application” if it wanted to change agency policy). Had it done so,
there would have been no “surprise,” Christopher, 567 U.S. at 156-57, and Texas
would have “know[n] the rules by which the game [would] be played,” Alaska Prof’l
Hunters, 177 F.3d at 1035.
    Instead, EPA waited years to inform Texas that reliance on its March 2018

Transport Guidance was misplaced because two after-arising D.C. Circuit decisions
had supposedly undermined that guidance. An agency must “give the person of or-
dinary intelligence a reasonable opportunity to know” what is required or prohibited,
“so that he may act accordingly.” Emp. Sols. Stafﬁng Grp. II, LLC v. Off. of Chief
Admin. Hearing Ofﬁcer, 833 F.3d 480, 488 (5th Cir. 2016). EPA failed to do that here.

    B. EPA relied on new modeling platforms that were unavailable to
       Texas before its SIP-submission deadline.
    EPA violated fair-notice principles in a second way. Its proposed and ﬁnal dis-
approvals of Texas’s SIP utilized a shifting array of platforms for modeling future
ozone, each of which was adopted long after Texas’s SIP-submission deadline.
    1. To estimate future ozone concentrations, both TCEQ and EPA use model-
ing platforms that rely on historical data. See, e.g., C.I. R6-6 at 3-3; Proposed Rule,
87 Fed. Reg. at 9,800. Before the SIP-submission deadline, EPA published data pro-
jecting ozone levels in 2023 using a platform with a 2011 base year. See Proposed

Rule, 87 Fed. Reg. at 9,800 & n.9. In that publication, EPA acknowledged that
“states have the primary responsibility to submit timely SIPs” and “may choose to
modify or supplement these data in developing” SIPs. 82 Fed. Reg. at 1,735. EPA




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further stated that it was supplying this modeling to “help states as they develop
SIPs.” Id.
    In accordance with those statements, TCEQ estimated future ozone concentra-
tions in 2023 using its own modeling platform with a 2012 base year because the 2011
base year that EPA selected “was a meteorologically anomalous year for Texas and

surrounding states as it was the hottest year on record and the single-worst drought
year recorded in Texas since 1895.” C.I. R6-6 at 3-6; see id. at 3-3 to 3-43. But when
EPA got around to assessing Texas’s SIP submission more than three years later, it
proposed to evaluate that SIP under its new 2016v2 modeling platform, which used
a 2016 base year. Proposed Rule, 87 Fed. Reg. at 9,800, 9,828. The 2016v2 platform
was developed well after Texas’s SIP-submission deadline, so it was unavailable
when TCEQ was preparing Texas’s SIP. See id.; C.I. R6-28 at 6-9. And the shift in
modeling platforms was material. As TCEQ observed in comments on the proposed
SIP disapproval, EPA’s 2016v2 platform identiﬁed seven maintenance or nonattain-

ment receptors in Illinois and Wisconsin that purportedly exceeded EPA’s one-per-
cent signiﬁcance threshold but were neither tagged by the model TCEQ had used
nor would have been identiﬁed by the model EPA recommended in its 2017 guid-

ance. C.I. R6-28 at 7.
    Under the Act’s cooperative federalism, TCEQ should have had a chance to as-
sess these new linkages in the ﬁrst instance. See Train, 421 U.S. at 79; BCCA Appeal

Grp., 355 F.3d at 822. And EPA’s use of a new modeling platform to disapprove
Texas’s SIP long after the SIP-submission deadline had passed was arbitrary and ca-
pricious; it constituted a change that was not only “[s]udden and unexplained,” but

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that also failed to “take account of legitimate reliance on [EPA’s] prior interpreta-
tion” in its 2017 guidance. Smiley, 517 U.S. at 742.
    In the Final Rule, EPA denied the claim that the 2016v2 platform was sprung on
the States. It noted that EPA had been publishing a series of updated modeling plat-
forms since November 2020 and that States could have “consider[ed] how [EPA’s]

modeling updates could affect” the status of their SIPs “for purposes of evaluating
potential linkages for” the 2015 ozone NAAQS. 88 Fed. Reg. at 9,366. But nothing
in the Act authorizes EPA to impose a rolling obligation on the States to rework their
SIPs anytime EPA chooses to issue updated guidance, new data, or new modeling
after a SIP-submission deadline. To the contrary, EPA has a “longstanding policy”
of “requiring states to use the most current emissions estimate models available at
the time of SIP development.” Approval and Promulgation of Air Quality State Imple-
mentation Plans; California; San Joaquin Valley, 81 Fed. Reg. 59,876, 59,879 n.15
(Aug. 31, 2016) (emphasis added). If EPA meant to depart from that “longstanding

policy,” id., that is yet another unexplained reversal, making EPA’s conduct arbi-
trary and capricious twice over. See R.J. Reynolds, 65 F.4th at 189.
    EPA’s suggestion is particularly hard to accept here. As EPA notes, it issued the

ﬁrst version of its updated modeling platform (“2016v1”) in November 2020 and
the second version, 2016v2, in September 2021. Id. It would have been neither sen-
sible nor practical for TCEQ to have begun to revise its SIP to account for the 2016v1

modeling platform in November 2020 only to be required to restart the process anew
ten months later to account for the 2016v2 platform. That is especially true because
both the Act and EPA regulations require SIP revisions to undergo notice-and-

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comment procedures at the state level. 42 U.S.C. § 7410(a); 40 C.F.R. § 51.102. As
Texas has explained, if EPA wanted to introduce this new modeling platform into
the SIP process, it had a statutory option to facilitate its introduction: a SIP call. See
42 U.S.C. § 7410(k)(5). What EPA may not do is spring a new modeling platform on
a State long after its SIP-submission deadline has passed, then use data generated by

that platform as a basis to disapprove a SIP.
    2. Rather than rectify this administrative-law error before promulgating the Fi-
nal Rule, EPA compounded it. In the Final Rule, EPA disapproved Texas’s SIP using
yet another modeling platform: 2016v3, issued just one month before the Final
Rule’s publication. 88 Fed. Reg. at 9,343-44; see also C.I. HQ-29 (2016v3 Technical
Support Document issued January 28, 2023). TCEQ could hardly have known,
much less accounted for, the fact that EPA would utilize yet another modeling plat-
form—different from the one used in the Proposed Rule—to ultimately disapprove
Texas’s SIP more than four years after the State’s SIP submission was due and just

one month before the SIP disapproval became ﬁnal. And once again, the change to a
different modeling platform was material: under the 2016v3 platform, Texas was
“linked . . . to one nonattainment receptor and nine maintenance-only receptors” as

well as “ten violating-monitor maintenance-only receptor[s].” Final Rule, 88 Fed.
Reg. at 9,359. At least two of those receptors—ones in “Do[ñ]a Ana County, New
Mexico,” where EPA now says that Texas contributes 4.74 ppb of ozone—appear

to have been linked to Texas only under the 2016v3 platform. Id.
    The speciﬁc linkages to receptors in Doña Ana County under the 2016v3 mod-
eling platform are noteworthy, given their inconsistency with the position EPA took

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in a separate proposed rulemaking less than one month after issuing the Final Rule.
In that proposed rule, which concerned the designation for the El Paso–Las Cruces,
Texas–New Mexico nonattainment area, EPA proposed to ﬁnd that this “nonattain-
ment area would have attained” the 2015 NAAQS “but for emissions emanating
from outside the United States.” Determination of Attainment by the Attainment

Date but for International Emissions for the 2015 Ozone National Ambient Air Qual-
ity Standard; El Paso-Las Cruces, Texas-New Mexico, 88 Fed. Reg. 14,095, 14,095
(Mar. 7, 2023) (proposed rule). Two of the receptors listed in that rule proposing to
determine that the El Paso–Las Cruces nonattainment area would have attained the
2015 ozone NAAQS but for international emissions are the same Doña Ana County
receptors identiﬁed in the Final Rule under EPA’s 2016v3 modeling platform show-
ing Texas as contributing to a failure to attain the NAAQS. Compare id. at 14,098
(identifying two New Mexico receptors with monitor IDs of “35-013-0021” and
“35-013-0022”) with Final Rule, 88 Fed. Reg. at 9,351 (identifying two New Mexico

receptors with monitor IDs of “350130021” and “350130022”).
    It is unclear how EPA can, on the one hand, link Texas to these receptors for
SIP-disapproval purposes and, on the other, propose a rule ﬁnding that the receptors

would have registered attainment of the NAAQS with no maintenance issues but for
international emissions. Because EPA sprung this new modeling platform on Texas
without notice or any ability to account for it before the SIP-revision deadline, Texas

was unable to identify and assess this apparent inconsistency.
    The APA does not countenance this moving-target approach to rulemaking.
Texas was “entitled to know the rules” that would govern its SIP submission, and

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an agency “must give notice of conduct the agency ‘prohibits or requires.’” R.J.
Reynolds, 65 F.4th at 189 (quoting Christopher, 567 U.S. at 156-57). EPA’s failure to
heed that core principle of administrative law was unlawful.

                                  Conclusion
       The Court should set aside the part of the Final Rule that disapproved Texas’s
SIP.

                                        Respectfully submitted.

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